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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

  IN RE: 3M COMBAT ARMS                    MDL No. 2885
  EARPLUG PRODUCTS
  LIABILITY LITIGATION                     3:19-md-2885


  This Document Relates to:                Judge M. Casey Rodgers
                                           Magistrate Judge Hope T. Cannon
  MDL Service List


             NOTICE OF WITHDRAWAL OF DOCKET NO. 3574

       PLEASE TAKE NOTICE that counsel for Defendant 3M Company docket

 number 3574 which was inadvertently filed in the MDL



DATED: November 1, 2022               /s/ Kari L. Sutherland
                                      Kari L. Sutherland



                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on this date, a copy of the foregoing was

filed on the Court’s CM/ECF system, which will serve all counsel of record.

DATED: November 1, 2022               /s/ Kari L. Sutherland
                                      Kari L. Sutherland
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